                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

AMY DALTON,

                       Plaintiff,

v.                                                          Case No: 6:17-cv-2125-Orl-22KRS

PHYSICIANS STAT LAB, INC. and
NATHAN HAWKINS,

                       Defendants.


                                             ORDER

       This cause is before the Court on the Joint Motion for Approval of FLSA Settlement (Doc.

No. 34) filed on January 9, 2019.

       The United States Magistrate Judge has submitted a report recommending that the Motion

be granted in part.

       After an independent de novo review of the record in this matter, and noting that the parties

filed a Joint Notice of Non-Objection (Doc. No. 36), the Court agrees entirely with the findings of

fact and conclusions of law in the Report and Recommendation. However, the Court determines

that the Motion should be granted in full.

       This case was before the Court based on federal question jurisdiction. Although the

parties have resolved the federal law claim, there is still pending a state law claim for breach of

contract.

       The Court examines the issue of supplemental jurisdiction over Plaintiff’s breach of

contract claim sua sponte. See Acri v. Varian Associates, Inc., 114 F.3d 999, 1997 WL 312583

(9th Cir. June 12, 1997) (en banc; recognizing that although district court is not required to sua

sponte consider whether to accept or decline supplemental jurisdiction, better practice is for it to

do so), supplemented by 121 F.3d 714 (9th Cir. 1997).
           The Court has discretion to exercise supplemental jurisdiction if it “has dismissed all claims

over which it has original jurisdiction.” 28 U.S.C. § 1367(c)(3). The Eleventh Circuit Court of

appeals has “encouraged district courts to dismiss any remaining state claims when ... the federal

claims have been dismissed prior to trial.” Raney v. Allstate Ins. Co., 370 F.3d 1086, 1089 (11th

Cir.2004); see also Carnegie–Mellon University v. Cohill, 484 U.S. 343, 350 n. 7, 108 S.Ct. 614,

98 L.Ed.2d 720 (1988) (“[I]n the usual case in which all federal-law claims are eliminated before

trial, the balance of factors to be considered ... will point toward declining to exercise jurisdiction

over the remaining state-law claims.”), superseded by statute on other grounds as recognized

in Ameritox, Ltd. v. Millennium Labs., Inc., 803 F.3d 518, 531 & n.23 (11th Cir. 2015). “State

courts, not federal courts, should be the final arbiters of state law.” Baggett v. First Nat Bank of

Gainesville, 117 F.3d 1342, 1353 (11th Cir.1997). Since Plaintiff’s federal claim has been

resolved, and the remaining claim depends on a determination of state law, the Court declines to

retain jurisdiction over the breach of contract claim. See, e.g., Mergens v Dreyfoos, 166 F.3d

1114, 1119 (11th Cir. 1999) (holding that since all federal claims were dismissed before trial,

district       court     appropriately     declined       to    exercise supplemental jurisdiction over

remaining state claim), cert. denied, 528 U.S. 820, 120 S.Ct. 63, 145 L.Ed.2d 55 (1999); Mears v.

LVNV Funding, LLC, 541 B.R. 899, 906 (M.D. Fla. 2015) (“Since the federal claims have been

disposed of and this case now involves solely a question of state law, this Court declines to exercise

supplement jurisdiction over the FCCPA allegations.”) (citation omitted) ; LaFontin v. Synergetic

Commc’ns, Inc., No. 10-80586-CIV, 2010 WL 11601248, at *2 (S.D. Fla. Oct. 25, 2010) ( “[A]s

the parties have resolved the claim serving as the basis for original federal court jurisdiction, the

Court declines to exercise supplemental jurisdiction over Plaintiff’s state law claim.”) (citation

omitted). Moreover, the Court has not presided over any discovery issues nor addressed the merits

of any motion to dismiss or for summary judgment. Therefore, the proper course of action is for


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the Court to dismiss this entire action without prejudice, so that Plaintiff will be free to pursue her

claim in state court in the appropriate manner. See, e.g., Ingram v. Sch. Bd. of Miami-Dade County,

167 Fed. App’x. 107, 109 (11th Cir. 2006) (per curiam) (“When a court decides not to exercise

supplemental jurisdiction under § 1367(c)(3) because only state claims remain, the proper action

is a dismissal without prejudice so that the complaining party may pursue the claim in state court.”)

(citing Crosby v. Paulk, 187 F.3d 1339, 1352 (11th Cir. 1999) (“If he decides to dismiss these

state-law claims, then they should be dismissed without prejudice so that the claims may be refiled

in the appropriate state court.”); LaFontin, 2010 WL 11601248, at *1 (“Given that the parties

have decided to resolve and therefore dismiss the federal claim against Defendant, Plaintiff’s

remaining state law claim will be also be dismissed.”).

       Therefore, it is ORDERED as follows:

       1.      The Report and Recommendation filed January 22, 2019 (Doc. No. 35), is

ADOPTED and CONFIRMED and made a part of this Order, excepted as noted above.

       2.      The Joint Motion for Approval of FLSA Settlement is hereby GRANTED.

       3.      The Court finds that the Settlement Agreement and Release of FLSA Claims is a

fair and reasonable resolution of a bona fide dispute under the FLSA.

       4.      Plaintiff’s counsel is prohibited from withholding any of the $2,050.00 settlement

payment due to Plaintiff pursuant to a contingency fee agreement or otherwise.

       5.      Plaintiff’s FLSA claim (Count I) is hereby DISMISSED with prejudice.

       6.      Plaintiff’s breach of contract claim (Count II) is hereby DISMISSED without

prejudice. Pursuant to 28 U.S.C. § 1367(d), the limitations period for the claim asserted is tolled

for a period of 30 days after the date of this Order.

       7.      The Clerk is directed to CLOSE the file.




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       DONE and ORDERED in Orlando, Florida on February 6, 2019.




Copies furnished to:

Counsel of Record




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